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                               UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON



CASEY CARAHER, DMD                                           Case No.: 3:23−cv−00267−JR
   Plaintiff,

v.                                                           ORDER REFERRING CASE TO
                                                             MEDIATION
ARROW DENTAL LLC
   Defendant.


     IT IS ORDERED THAT:

     Pursuant to LR 16−4(f), this case is to be referred to Court−sponsored mediation.

     (a)      Selection of a Mediator: Not later than fourteen (14) days from the date of this order, the
parties shall select a mediator from the Court−Sponsored Mediator Panel located on the Court's website.
The parties should contact the person(s) selected directly to discuss and determine scheduling
opportunities. Panel mediators have volunteered to serve up to eight (8) hours per year (four (4) hours
per case) without charge or expectation of reimbursement of any kind. Mediation efforts may continue
beyond the four (4) hours at a rate agreed to by the parties and the mediator. If the parties cannot agree
on a mediator, the attorney for plaintiff must notify the Court and a mediator will be designated.

    (b)     Goals of Mediation: The Court expects the mediator to conduct mediation proceedings in
an attempt to achieve full settlement of the issues addressed in the case.

     (c)    Conduct of Mediation: Pursuant to LR 16−4(g), all proceedings before the mediator are
privileged and shall not be reported, placed into evidence, made known to the trial court or jury, or
otherwise construed as an admission against interest by any party.

    (d)     Reporting Result of Mediation: When the proceedings are completed, the mediator will
report the outcome and the status of the case to the Court. If no settlement can be achieved, the mediator
may also advise the Court whether the intervention of a settlement judge or other form of alternative
dispute resolution may help to resolve the matter.

   (e)      Judicial Immunity of the Mediator: Pursuant to LR 16−4(f)(3), during the conduct of the
mediation, the mediator acts as an officer of the Court and is therefore invested with full judicial
immunity.


     DATED this 29th day of November, 2023              /s/Jolie A. Russo

                                                        Honorable Jolie A. Russo
                                                        United States Magistrate Judge.
